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MEMORANDUM OPINION

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No. 04-10-00587-CR

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Roy Vicente BOLADO,

Appellant

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v.

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The STATE of
Texas,

Appellee

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From the 186th
Judicial District Court, Bexar County, Texas

Trial Court No. 2009-CR-6309

Honorable Maria
Teresa Herr, Judge Presiding

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PER CURIAM

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Sitting:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Phylis J.
Speedlin, Justice

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Rebecca
Simmons, Justice

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Steven
C. Hilbig, Justice

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Delivered and
Filed:&nbsp; January 26, 2011

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DISMISSED

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Appellant has filed a motion to dismiss this appeal in compliance with Rule 42.2(a).&nbsp; See Tex. R. App. P. 42.2(a).&nbsp; The motion is
granted and this appeal is dismissed.&nbsp; See id.&nbsp; 

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PER
CURIAM

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DO NOT PUBLISH





